                                    Case 2:22-cv-04355-JFW-JEM Document 124 Filed 03/07/23 Page 1 of 8 Page ID #:7288




                                           1 ERIC BALL (CSB No. 241327)
                                             eball@fenwick.com
                                           2 KIMBERLY CULP (CSB No. 238839)
                                             kculp@fenwick.com
                                           3 FENWICK & WEST LLP
                                             801 California Street
                                           4 Mountain View, CA 94041
                                           5 Telephone:  650.988.8500
                                             Facsimile: 650.938.5200
                                           6
                                               ANTHONY M. FARES (CSB No. 318065)
                                           7   afares@fenwick.com
                                               ETHAN M. THOMAS (CSB No. 338062)
                                           8   ethomas@fenwick.com
                                               FENWICK & WEST LLP
                                           9   555 California Street, 12th Floor
                                               San Francisco, CA 94104
                                          10   Telephone: 415.875.2300
                                          11 Additional Counsel listed on next page
                                          12
                                             Attorneys for Plaintiff and
F ENWICK & W EST LLP




                                          13 Counterclaim Defendant
                       ATTORNEYS AT LAW




                                             YUGA LABS, INC.
                                          14
                                          15                            UNITED STATES DISTRICT COURT
                                          16                           CENTRAL DISTRICT OF CALIFORNIA
                                          17                             WESTERN DIVISION – Los Angeles
                                          18
                                          19 YUGA LABS, INC.,                             Case No.: 2:22-cv-04355-JFW-JEM
                                          20                    Plaintiff and             DISCOVERY MOTION
                                                                Counterclaim Defendant,
                                          21                                              PLAINTIFF YUGA LABS, INC.’S
                                                     v.                                   SUPPLEMENTAL MEMORANDUM
                                          22                                              IN SUPPORT OF MOTION FOR
                                                                                          SANCTIONS
                                          23 RYDER RIPPS, JEREMY CAHEN,
                                                                                          Mag. Judge: Hon. John E. McDermott
                                          24             Defendants and                   Motion Hearing Date: March 21, 2023
                                                         Counterclaim Plaintiffs.         Motion Hearing Time: 10:00 AM
                                          25                                              Discovery Cutoff Date: April 3, 2023
                                                                                          Pre-Trial Conference Date: June 9, 2023
                                          26                                              Trial Date: June 27, 2023
                                          27
                                          28

                                               YUGA LABS’ SUPP. MEMORANDUM ISO.                          Case No. 2:22-cv-04355-JFW-JEM
                                               MOTION FOR SANCTIONS
                                    Case 2:22-cv-04355-JFW-JEM Document 124 Filed 03/07/23 Page 2 of 8 Page ID #:7289




                                           1 MELISSA L. LAWTON (CSB No. 225452)
                                             mlawton@fenwick.com
                                           2 FENWICK & WEST LLP
                                             228 Santa Monica Boulevard
                                           3 Santa Monica, CA 90401
                                             Telephone: 310.434.4300
                                           4
                                             DAVID Y. SILLERS (admitted pro hac vice)
                                           5 david@clarelocke.com
                                           6 KATHRYN HUMPHREY (admitted pro hac vice)
                                             kathryn@clarelocke.com
                                           7 MEGAN L. MEIER (admitted pro hac vice)
                                             megan@clarelocke.com
                                           8 CLARE LOCKE LLP
                                             10 Prince Street
                                           9 Alexandria, VA 22314
                                             Telephone: 202.628.7400
                                          10
                                             Attorneys for Plaintiff and
                                          11 Counterclaim Defendant
                                          12 YUGA LABS, INC.
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                          13
                                          14
                                          15
                                          16
                                          17
                                          18
                                          19
                                          20
                                          21
                                          22
                                          23
                                          24
                                          25
                                          26
                                          27
                                          28

                                               YUGA LABS’ SUPP. MEMORANDUM ISO.                  Case No. 2:22-cv-04355-JFW-JEM
                                               MOTION FOR SANCTIONS
                                    Case 2:22-cv-04355-JFW-JEM Document 124 Filed 03/07/23 Page 3 of 8 Page ID #:7290




                                           1 I.       INTRODUCTION
                                           2          Defendants take the remarkable position that they were “sandbagged” with
                                                                                                                          1
                                           3 responsive evidence in their possession that they were caught withholding. Joint
                                           4 Stipulation (Dkt. 109) (“Joint Stip.”). This is despite Defendant Ripps’ violation of
                                           5 the Court’s January 10, 2023 order requiring him to “complete [his] document
                                           6 production” and produce “all relevant non-privileged documents . . . in his custody,
                                           7 control or possession.” Dkt. 79. This is also despite a sworn, and now admittedly
                                           8 false, verification by Ripps that he produced “all relevant non-privileged documents”
                                           9 (Thomas Decl. Ex. 5). And it is despite at least four (now admittedly false) written
                                          10 assurances that Defendants were not withholding evidence in the categories
                                          11 specifically outlined by Yuga Labs, only to be later contradicted as each of
                                          12 Defendants’ assurances was followed up with more purportedly overlooked
F ENWICK & W EST LLP




                                                       2
                                          13 documents.
                       ATTORNEYS AT LAW




                                          14      Defendants pivot to say that, because now they have produced more documents,

                                          15 there is no reason to believe they are still concealing documents. That position is
                                          16 simply not credible given Defendants’ repeated conduct. And worse, Yuga Labs has
                                          17 since uncovered additional evidence of concealment. Moreover, although Cahen
                                          18 swears he has not destroyed evidence, Ripps refuses to say under oath that he has
                                          19 not destroyed evidence. Whatever the explanation, Defendants’ concealment (be it
                                          20 spoliation or continued withholding) of material evidence is unacceptable.
                                          21
                                          22
                                          23
                                               1
                                          24     Defendants’ claim that Yuga labs did not “adequately” confer is also contrary to the
                                               record. See, e.g., Joint Stip. at 2–3 (enumerating times documents were identified to
                                          25   Defendants); Dkt. 109-10 (L.R. 37-1 letter); Dkt. 109-6 (email listing documents).
                                               The documents presented by Yuga Labs in the Joint Stipulation were examples — not
                                          26   comprehensive — of evidence of Defendants’ withholding or destruction of discovery
                                               material.
                                          27   2
                                                 See Defs. Jan 3., 2023 Mem. (Dkt. 70) at 2; Jan. 20, 2023 Letter from H. Nikogosyan
                                               (Dkt. 109-6); Feb. 2, 2023 Letter from H. Nikogosyan (Dkt. 109-11); Joint Stip. at,
                                          28   e.g., 4–5.
                                               YUGA LABS’ SUPP. MEMORANDUM ISO.
                                               MOTION FOR SANCTIONS                     1                  Case No. 2:22-cv-04355-JFW-JEM
Case 2:22-cv-04355-JFW-JEM Document 124 Filed 03/07/23 Page 4 of 8 Page ID #:7291
Case 2:22-cv-04355-JFW-JEM Document 124 Filed 03/07/23 Page 5 of 8 Page ID #:7292
                                    Case 2:22-cv-04355-JFW-JEM Document 124 Filed 03/07/23 Page 6 of 8 Page ID #:7293




                                           1           Supp. Thomas Decl. Exhibit 4 at 2–3:
                                                             Cahen: RR/BAYC NFTs “aren’t gonna be worth less than we paid”
                                           2
                                                       Supp. Thomas Decl. Exhibit 4 at 5:
                                           3                 Lehman: “My personal POV is that we should go hard toward
                                           4                 something that is clearly non-infringing and also abstract. E.g the
                                                             logo could be ‘RR’ or something instead of a picture”
                                           5                 …
                                                             Cahen: “Ok I will talk to ryder about that”
                                           6
                                           7          As to Defendants’ argument that the discovery is too burdensome, Defendants
                                           8 failed to raise that argument to the Court prior to the January 10, 2023 Order and have
                                           9 thus waived it as an excuse to feign compliance. But in any event, that argument is
                                          10 woefully insufficient. Defendants are not pro se parties and have sophisticated counsel
                                          11 that is more than capable of performing basic document collection and review.
                                          12 Defendants have, in fact, produced documents from Twitter, Telegram, Discord, and
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                          13 their texts and emails.              What they have not produced are those internal
                                          14 communications between them or Mr. Hickman. Moreover, while Cahen describes
                                          15 the burden of “manually scrolling through a large text thread” (Joint Stip. at 19), he
                                          16 could have located them by using the phone’s native search function for basic terms
                                          17 such as “Yuga” or “RR.” See Dkt. 109-17.
                                          18          Defendants’ newfound privilege argument is also meritless.               For the
                                          19 communications between Ripps and Cahen only, there could have been no privilege
                                          20 for communications that occurred before the lawsuit was filed and outside the presence
                                          21 of their attorney. See Bruno v. Equifax Information Services, LLC, No. 2:17-cv-327-
                                          22 WBS-EFB, 2019 WL 633454, at *10 (E.D. Cal. Feb. 14, 2019). No pre-litigation
                                          23 communications between Ripps and Cahen took place in the presence of counsel, as
                                          24 admitted by Defendants’ only privilege log, served on December 1, 2022 (which was
                                          25 thereafter withdrawn). Supp. Thomas Decl. Exhibit 5. Defendants never suggested
                                          26 otherwise. In their counsel’s February 26, 2023 letter, Defendants appear to recognize
                                          27 that their pre-litigation communications are not privileged. Supp. Thomas Decl.
                                          28 Exhibit 6 (acknowledging withdrawal of privilege claims in pre-litigation

                                               YUGA LABS’ SUPP. MEMORANDUM ISO.
                                               MOTION FOR SANCTIONS                         4              Case No. 2:22-cv-04355-JFW-JEM
                                    Case 2:22-cv-04355-JFW-JEM Document 124 Filed 03/07/23 Page 7 of 8 Page ID #:7294




                                           1 communications among Ripps, Cahen, Lehman, and Hickman).                        However,
                                           2 Defendants still have not produced their communications between themselves before
                                           3 the lawsuit was filed, which are of the highest relevance in this intentional
                                           4 trademark infringement case. The reason is obvious: if they will admit their scam
                                           5 with Lehman and Hickman in a group chat (which they have), their private
                                           6 communications must be even more damning. As to communications involving third
                                           7 parties — whether pre-litigation or post-litigation — Defendants already made a
                                           8 privilege argument, which the Court rejected. Dkt. 67 at 49; Dkt. 79. There is no
                                           9 good-faith basis for continuing to withhold these.
                                          10 III.     SIGNIFICANT SANCTIONS ARE WARRANTED
                                          11          As set forth in the Joint Stipulation, the elements necessary to award sanctions
                                          12 are easily met here. At least Defendant Ripps is in violation of a Court order. Dkt.
F ENWICK & W EST LLP




                                          13 79. And, Defendants’ continued withholding of evidence does not mitigate their
                       ATTORNEYS AT LAW




                                          14 culpability, but only exacerbates their failure to cooperate in discovery or comply with
                                          15 their obligations under L.R. 37-4 and Fed. R. Civ. P. 37. “Rule 37 authorizes the Court
                                          16 to impose sanctions for a party’s failure to obey discovery orders, including
                                          17 preclusion sanctions ‘prohibiting the disobedient party from supporting or opposing
                                          18 designated claims or defenses, or from introducing designated matters in evidence.’”
                                          19 Genevieve Morton v. Twitter, Inc., No. 2:20-CV-10434-GW-JEMX, 2022 WL
                                          20 18231784, at *1 (C.D. Cal. Mar. 21, 2022), report and recommendation adopted 2022
                                          21 WL 18231676 (C.D. Cal. Mar. 22, 2022) (quoting Fed. R. Civ. P. 37(b)(2)(A)(ii)).
                                          22 Here, Defendants have obstructed and continue to obstruct Yuga Labs’ access to
                                          23 evidence of their infringement, the intent behind their infringement, and the resulting
                                          24 likelihood of confusion. It is also impossible to determine with precision what
                                          25 evidence Defendants have spoliated or continue to conceal. The Court should grant
                                          26 Yuga Labs’ motion.
                                          27
                                          28

                                               YUGA LABS’ SUPP. MEMORANDUM ISO.
                                               MOTION FOR SANCTIONS                      5                 Case No. 2:22-cv-04355-JFW-JEM
                                    Case 2:22-cv-04355-JFW-JEM Document 124 Filed 03/07/23 Page 8 of 8 Page ID #:7295




                                          1 Dated: March 7, 2023                  FENWICK & WEST LLP
                                          2
                                          3                                       By:   /s/ Ethan M. Thomas
                                                                                      Ethan M. Thomas
                                          4                                       Attorneys for Plaintiff and
                                                                                  Counterclaim Defendant
                                          5                                       YUGA LABS, INC.
                                          6
                                          7
                                          8
                                          9
                                          10
                                          11
                                          12
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                          13
                                          14
                                          15
                                          16
                                          17
                                          18
                                          19
                                          20
                                          21
                                          22
                                          23
                                          24
                                          25
                                          26
                                          27
                                          28

                                               YUGA LABS’ SUPP. MEMORANDUM ISO.
                                               MOTION FOR SANCTIONS                  6                Case No. 2:22-cv-04355-JFW-JEM
